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                                                                             EXHIBIT B

                                  ENDORSEMENTS
      I am authorized to state that the following attorneys have cases on file in this MDL
and support my application for a leadership position in this case:
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